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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

      DEPUY SYNTHES PRODUCTS, INC.                               Civil Action No.
      and DEPUY SYNTHES SALES, INC.,                          3:18-cv-1342-J-20PDB

             Plaintiffs,                                  JURY TRIAL DEMANDED

      v.

      VETERINARY ORTHOPEDIC
      IMPLANTS, INC., SYNTEC
      SCIENTIFIC CORPORATION, and
      FIDELIO CAPITAL AB,                             CONTAINS HIGHLY-
                                                      CONFIDENTIAL - OUTSIDE
             Defendants.
                                                      ATTORNEYS EYES ONLY
                                                      INFORMATION


                           PLAINTIFFS' THIRD AMENDED COMPLAINT
                                AND DEMAND FOR JURY TRIAL

            Plaintiffs DePuy Synthes Products, Inc. and DePuy Synthes Sales, Inc. (collectively,

     "DePuy Synthes"), by and through their undersigned attorneys, complain and allege against

     Defendants Veterinary Orthopedic Implants, Inc. ("VOI"), Syntec Scientific Corporation

     ("Syntec"), and Fidelio Capital AB ("Fidelio") (collectively "Defendants") as follows:

                                           THE PARTIES

            1.      Plaintiff DePuy Synthes Products, Inc. is a corporation organized and existing

     under the laws of the State of Delaware with its principal place of business at 325 Paramount

     Drive, Raynham, Massachusetts 02767.

            2.      Plaintiff DePuy Synthes Sales, Inc. is a corporation organized and existing

     under the laws of the State of Massachusetts with its principal place of business at 325

     Paramount Drive, Raynham, Massachusetts 02767.
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            3.      On information and belief, defendant VOI is a corporation organized and

     existing under the laws of the State of Florida with its principal place of business at 310

     Commerce Lake Drive, Unit 107, St. Augustine, Florida 32095.

            4.      On information and belief, defendant Syntec is a foreign corporation organized

     and existing under the laws of Taiwan with its principal place of business at 2, Kung San Road,

     Chuan Shing Industrial Zone, Shen Kang, Chang Hua, Taiwan.

             5.     On information and belief, defendant Fidelio is a foreign corporation organized

     and existing under the laws of Sweden with its principal place of business at Birger Jarlsgatan

     13, 111 45 Stockholm, Sweden.

             6.     On information and belief, Fidelio announced that it had acquired a majority

     interest in VOI on or about June 16, 2020. In a corporate disclosure statement filed on October

     19, 2020, VOI identified Fidelio as having been its majority shareholder since May 5, 2020.

     Doc. 214.

             7.     On information and belief, Fidelio has been aware of the asserted patent and

     VOI's infringing activity from pre-acquisition diligence and thus has been on notice of VOI's

     infringement since no later than on or about May 5, 2020. On information and belief, Fidelio

     now controls VOI, including with respect to VOI's decision-making whether or not to sell and

     continue to sell the Accused Products. As an example, in June, it was a Fidelio executive, not

     a VOI executive, who approached the Plaintiffs to discuss this lawsuit.

            8.      On information and belief, Fidelio is using VOI as a mere alter ego to sell

     infringing copies of Plaintiffs' products, without regard for whether VOI is able to account for

     the liability it has incurred and continues to incur.




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            9.       VOI has admitted in untimely corporate disclosure statements filed with the

     Federal Circuit and this Court that its parent is "Fidelio Capital d/b/a Ossium." See Doc. 214.

     Ossium in turn advertises that it is distributing the orthopedic implants and kits that are the

     subject of this lawsuit in the United States, listing Patrick Gendreau as one of three individuals

     under the heading "CEO" and including a link to the VOI website:

                 Ossium Group ("Ossium") was created by Fidelio through the acquisition of three
                 companies located in Switzerland and the U.S. during 2019 and 2020, creating a
                 global leader within veterinary orthopedic implants.

                 In addition to designing and distributing veterinary orthopedic implants and
                 instruments, Ossium runs educational seminars to educate and train veterinarians
                 in the various procedures as well as keeping them up to date of recent product
                 developments.

                 Boasting a broad product offering ranging from advanced hip implants to sutures,
                 the group will continue to invest in innovation and R&D, and serve the market
                 through best-in-class commercial operations. Products are sold to veterinarians and
                 animal hospitals in 45+ markets with the largest product groups being implants for
                 hips and knees as well as fracture plates.

     Ossium, FIDELIO CAPITAL, https://fideliocapital.se/cases/ossium-2/.

            10.      Public statements by employees of the Ossium Group further confirm that it

     does not observe corporate formalities and that Fidelio is using the entities that make up the

     Ossium Group as alter egos.

                   From: Annette Baez Vega rannette@biomedtrix.conn>
                   ❑ate: October 26, 2020 at 6:21:33 PM MST
                   To: Ross Lirtzman <Ross@asgscottsdale,corn>
                   Subject: BioMedtrix TPLO plates




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                 Hi Ross,

                 I hope you are well and I heard Synthes is on backorder on their
                 3.5 plates. We have some in stock as well as VOI and Kyon. In
                 2021 our finances will be combined into one company and
                 between VOI, Kyon, and BioMedtrix we own a vast percentage in
                 the orthopedic industry.

                 Please let me know if I can fulfill any of your needs.

                 Sincerely,
                 Annette


                           Annette Baez
                           Technical Sales Associate
                           C 973.265.9036 I 0 908.868.6352

                 BioMedtrix.com
                 9 Whippany Rd Ste B2.-7 I Whippany NJ 0798t
                11     0

               11.    For example, on information and belief, employees of one of the Ossium

     member entities, "Biomedtrix," are offering for sale infringing TPLO plates imported,

     manufactured, sold, and/or offered by sale by VOI as alternatives to "Synthes" (i.e., Plaintiffs')

     plates.

               12.    For example, on information and belief, Ossium combines Kyon, BioMedtrix,

     and VOI and treats them as one entity. On information and belief, Ossium is seeking to

     establish a combined e-commerce platform that unifies each company's product line in a single

     location, and that it recently began seeking to employ a single individual on behalf of all three

     companies to implement this strategy.'




     I See Web Developer — Mid-Level, PAYLOCITY,
     https://recruiting.paylocity.comfrecruiting/jobs/Details/379260Neterinary-Orthopedic-Implants/Web-
     Developer---Mid-Level.




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                                                                J       LYON


                                                                    ‘,7

       Web ❑eveloper - Mid-Level
       St. Augustine, FL




       Description
       Are you interested in working for a leading company In the Veterinary Implant industry? Are you looking for growth
       potential with a company that has a great culture and a desire to be the best? As a web developer for Ossium
       (BioMedtrix, KYON, and Veterinary Orthopedic Implants), you will strive to create and maintain visually appealing
       sites that feature user-friendly design and clear navigation. You will first be responsible for the successful buildout of
       a global eCommerce website with the ability to handle multiple currencies and languages on the Big Commerce (or
       similar open-source platform) for a product portfolio of around 15,000 products.




              13.       On information and belief, VOI is attempting to hide this commercial behavior

     during this proceeding. For example, at deposition, a senior VOI executive denied that Kyon

     or BioMedtrix employees are marketing VOI products merely weeks before the above-

     referenced solicitation by Biomedtrix on behalf of all Ossium members (including VOI).

     VanHorssen Depo. at 12:7-14 ("Q. Do KYON and BioMedtrix's employees market VOI

     products to customers? A. They have not that I'm aware of. Q. Is that something that's being

     discussed? A. We have spoke about it. Q. And what have been the contents of the discussions?

     A. I don't recall the details.").

                                             JURISDICTION AND VENUE

              14.       This is an action for patent infringement arising under the patent laws of the

     United States, Title 35 U.S.C. §§ 1 et seq.

              15.       This Court has jurisdiction over the subject matter of this action pursuant to 28

     U.S.C. §§ 1331, 1332, and 1338(a).




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            16.     Each Defendant is subject to this Court's specific and general jurisdiction

     consistent with the principles of due process and/or the Florida Long Arm Statute. This Court

     has personal jurisdiction over VOI because, on information and belief, VOI is a Florida

     corporation with a principal place of business in St. Augustine, Florida, and transacts business

     in Florida. This Court further has personal jurisdiction over VOI because, on information and

     belief, VOI transacts continuous and systematic business within Florida. Moreover, this Court

     has personal jurisdiction over VOI because, on information and belief, this lawsuit arises out

     of VOI's infringing activities including, without limitation, VOI's manufacturing, distributing,

     selling and/or offering to sell infringing products in Florida, and/or importing infringing

     products and components into Florida. Finally, this Court has personal jurisdiction over VOI

     because, on information and belief, VOI has made, used, sold, offered for sale and/or imported

     infringing products and placed such infringing products in the stream of interstate commerce

     with the expectation that such infringing products would be used, distributed, sold and/or

     offered for sale within Florida.

            17.     This Court has personal jurisdiction over Syntec because, on information and

     belief, Syntec transacts continuous and systematic business within Florida. Moreover, this

     Court has personal jurisdiction over Syntec because, on information and belief, this lawsuit

     arises out of Syntec's infringing activities including, without limitation, Syntec's

     manufacturing, distributing, selling and/or offering to sell infringing products in Florida,

     and/or importing infringing products and components into Florida. Finally, this Court has

     personal jurisdiction over Syntec because, on information and belief, Syntec has made, used,

     sold, offered for sale and/or imported its infringing products and placed such infringing




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     products in the stream of interstate commerce with the expectation that such infringing

     products would be used, distributed, sold and/or offered for sale within Florida.

            18.     This Court has personal jurisdiction over Fidelio because, on information and

     belief, Fidelio transacts continuous and systematic business within Florida, including through

     its acquisition and control of VOI. Moreover, this Court has personal jurisdiction over Fidelio

     because, on information and belief, this lawsuit arises out of Fidelio's infringing activities

     including, without limitation, actively encouraging VOI's manufacturing, distributing, selling

     and/or offering to sell infringing products in Florida, and/or importing infringing products and

     components into Florida. Finally, this Court has personal jurisdiction over Fidelio because, on

     information and belief, Fidelio has actively encouraged VOI to have made, used, sold, offered

     for sale, and/or imported its infringing products and placed such infringing products in the

     stream of interstate commerce with the expectation that such infringing products would be

     used, distributed, sold, and/or offered for sale within Florida. Personal jurisdiction over Fidelio

     with respect to Plaintiffs' claims is also proper under the doctrine of pendent personal

     jurisdiction, as this Court has personal jurisdiction over VOI, and Plaintiffs' claims against

     Fidelio arise out of the same common nucleus of operative facts.

            19.     In the alternative, on information and belief, this Court has personal jurisdiction

     over Fidelio pursuant to Federal Rule of Civil Procedure 4(k)(2) because Fidelio has extensive

     contacts with the United States, including but not limited to the above-described contacts, is

     not subject to jurisdiction in any particular state, and exercising jurisdiction over Fidelio is

     consistent with the laws of the United States and the United States Constitution.




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             20.     Venue is proper pursuant to 28 U.S.C. §§ 1391 and 1400. Venue is also proper

     within this district because VOI resides in the Middle District of Florida insofar as it is a Florida

     corporation that maintains a principal place of business in St. Augustine, Florida, which is

     located within St. Johns County, and, on information and belief, VOI has committed acts of

     infringement and maintains a regular and established place of business in the Middle District

     of Florida. In addition, venue is also proper in this district because, on information and belief:

     Syntec has committed acts of infringement in the Middle District of Florida, personal

     jurisdiction exists over Syntec in this District, and Syntec is a Taiwanese corporation; and

     Fidelio has committed acts of infringement in the Middle District of Florida, personal

     jurisdiction exists over Fidelio in this District, and Fidelio is a Swedish corporation.

             21.     Moreover, venue as to Fidelio is proper in this District pursuant to 28 U.S.C.

     § 1391(c)(3) because Fidelio is not a resident of the United States and, therefore, venue is

     proper in any judicial district.

             22.     Defendants are properly joined under 35 U.S.C. § 299(a)(1) because, as set forth

     in greater detail below, defendants, through their own acts and/or through the acts of each other

     acting as its representative, alter ego, or agent, commonly and/or jointly manufacture, offer for

     sale, sell, or import into the United States, the same infringing plates used in tibial leveling

     osteotomy procedures, such that at least one right to relief is asserted against defendants jointly,

     severally, and in the alternative with respect to the same transactions, occurrences, or series of

     transactions or occurrences relating to the making, using, selling and/or offering to sell in,

     and/or importing into the United States the same accused products.




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             23.     Defendants are properly joined under 35 U.S.C. § 299(a)(2) because, as set forth

     in greater detail below, defendants, through their own acts and/or through the acts of each other

     acting as its representative, alter ego, or agent, make, use, sell and/or offer to sell in, and/or

     import into the United States the same infringing plates used in tibial leveling osteotomy

     procedures, such that questions of fact will arise that are common to all defendants.

                                       THE ASSERTED PATENTS

             24.     On September 3, 2013, U.S. Patent No. 8,523,921 ("the '921 patent"), entitled

     "Tibial Plateau Leveling Osteotomy Plate," was duly and legally issued by the United States

     Patent and Trademark Office ("USPTO") and names Timothy J. Horan, Christopher H. Scholl,

     and Daneen K. Touhalisky as inventors. A copy of the '921 patent is attached as Exhibit A.

             25.     The '921 patent is directed to surgical plates for use in tibial plateau leveling

     osteotomy ("TPLO") procedures. TPLO procedures are used in veterinary medicine to correct

     ruptured cranial cruciate ligaments in canines and other animals. The '921 patent is also

     directed to kits and methods of using the plates in TPLO procedures. TPLO procedures include

     CORA-based tibial leveling osteotomy ("CBLO") procedures.

             26.     By lawful assignment, plaintiff DePuy Synthes Products, Inc. is the owner of

     all rights, title and interest in and to the '921 patent.

             27.     By lawful license, DePuy Synthes Sales, Inc. is the exclusive licensee of

     the '921 patent from DePuy Synthes Products, Inc. with the exclusive right to sell and offer to

     sell products covered by the '921 patent to third parties.

             28.     On June 8, 2021, U.S. Patent No. 11,026,728 (the "'728 patent"), entitled

     "Tibial Plateau Leveling Osteotomy Plate," was duly and legally issued by the United States




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     Patent and Trademark Office ("USPTO") and names Timothy J. Horan, Christopher H. Scholl,

     and Daneen K. Touhalisky as inventors. A copy of the '728 patent is attached as Exhibit M.

     The '728 patent is a continuation of the '921 patent and shares a common specification.

             29.     Like the '921 patent, the '728 patent is directed to surgical plates for use in

     tibial plateau leveling osteotomy ("TPLO") procedures as well as to kits and methods of using

     the plates in TPLO procedures.

             30.     By lawful assignment, plaintiff DePuy Synthes Products, Inc. is the owner of

     all rights, title and interest in and to the '728 patent.

             31.     By lawful license, plaintiff DePuy Synthes Sales, Inc. is the exclusive licensee

     of the '728 patent from DePuy Synthes Products, Inc. with the exclusive right to sell and offer

     to sell products covered by the '728 patent to third parties.

                                      THE ACCUSED PRODUCTS

             32.     Defendants VOI, Syntec, and Fidelio manufacture, import, sell and/or offer for

     sale implants, screws and instrumentation for veterinary orthopedic use, including plates and

     screws for use in tibial plateau leveling osteotomy ("TPLO") procedures, which include plates

     used in CORA-based tibial leveling osteotomy ("CBLO") procedures.

             33.     Defendants have manufactured, imported, sold or offered for sale TPLO plates,

     as well as products and services suitable for use in TPLO and CBLO procedures. Defendants'

     marketing literature depicts many TPLO plates. For purposes of this action, the plates at issue

     are those identified on the attached Exhibit B, as well as VOI's NXT TPLO plates with locking

     screw holes for the '728 patent, and the accused non-plate portions of the infringing kits at

     issue are those identified in Exhibit I, as well as substantially similar designs to those in




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     Exhibits B and I (collectively, Exhibits B and I, the NXT TPLO plates with locking screw

     holes, and substantially similar designs to the designs in Exhibit B and I, and the NXT TPLO

     plates with locking screw holes, are the "Accused Products"). The Accused Products are not

     staple articles of commerce suitable for any non-infringing use.

            34.     On information and belief, VOI has been on notice of the '921 patent since at

     least 2013, as evidenced by Exhibit C.

            35.     On information and belief, VOI has been on notice of the '728 patent since it

     issued on June 8, 2021, as Plaintiffs informed VOI of its forthcoming issuance no later than

     April 8, 2021. At that time, Plaintiffs also provided VOI with detailed claim charts explaining

     how the Accused Products would infringe the '728 patent. Ex. N.

            36.     On information and belief, Syntec manufactures at least plates and screws that

     come within the definition of the Accused Products.

            37.     Counsel for VOI stated in Court with respect to Syntec: "[W]e don't have

     engineers that are creating engineering drawings. So when they [DePuy Synthes] asked for

     engineering drawings, we went to the manufacturer, which is not us, and got the engineering

     drawings."

            38.     On information and belief, Syntec ships into the United States, offers for sale

     in the United States, and sells in the United States the Accused Products, in all cases to at least

     VOI.

            39.     For example, and as evidenced below, invoices show that Syntec is offering to

     sell to VOI in Florida, selling to VOI in Florida, and shipping to VOI in Florida "TPLO plates"

     identified by VOI item numbers associated with the Accused Products.




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                                                                        Invoice
                    #251                                                                                                           OSQP-012-10-A
              03-08-2019

              Invoice No : OPW1903018                                                                   Date : MAR.08, 2019
              TO:                                                                                       BY FEDEX NO. B1334697-6451
              Veterinary Orthopedic Implants                                                            Your A/C NO. 8055-1080-3
              310 Commerce Lake Drive,                                                                  Sent On MAR08, 2019
              Unit 107 St-Augustine, FL, 32095                                                          From Taiwan            To USA

              ATTN     Mr. Patrick Gendreau                                                             Your Purchase Order No : 23309
              Item Item No.         Item                                                                         Unit      Total
                                                              Description oil goods                     Quantity Price    Amount       Lot No.
               No. Comma's        No.Syntee
                                                                                                                 USD       USD
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                                              for veterinary use only                                          tariff code 7218.99.00.90.7

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                                                          TOTAL QUANTITY AND AMOUNT : 891 EA                      USD 29.403.00


                    Production/Origin : Taiwan
                    Manufacturer : Syntec Scientific Corporation
                    Address   LKUNG SAN ROAD, CHUAN SHING INDUSTRIAL ZONE,
                                SHEN KANG,CHANG HUA.TAIWAN
                                                                          SYNTEC SCIENTIFIC CORPORATION


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               Veterinary Orthopedic ltaplaata                                                       Your A/C NO. 80554080.3
               310 Commerce Lake Drive,                                                              Seat On : OCT, 26.2018
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              Veterloary Orthopedic Implants                                                             Year MC NO. 8055-1080-3
              310 Commerce Lake Drive,                                                                   Sail Oa : MAR.011, 2019
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                   S ST 210.It TOXHI21awl 2.7reen ..az head Self-Tap Scrump limn                         319 EA 3.05 *472-95
               10 S ST 330.21 10X2OillIV4 3.5rao Sokr-Tap, Star /Mad Saw 2aeon                           479 EA 3.05 1.1,460.95
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               14 S7350.72        204132V.3     Corm screw self Tappootti3.142rernI.(Floter.3)           2209 EA 1.65 4.64435 moo or.norm
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                   Meaefariares Spore Stirnt Ills Corp*re two
                   harem =LNGIAN /GAD. CHIANIHINC WHIATRIAR, WPM
                              SHIN KANCNCIIANG 14.4.7,41amar
                                                              SYNTEC SCIENTIFIC CORPORATOON

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             40.       Syntec has a history of pirating products. For example, in 2012, a Final

      Judgment was entered against Syntec by default forbidding it from engaging in a number of




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     activities involving Synthes products. See Final Judgment Pursuant to Rule 54(b) against

     defendant Syntec Sci. Corp., Synthes U.S. v. Syntec Sci. U.S. Corp., No. ED CV 09-1875-

     DMG (C.D. Cal. Jul. 6, 2012) (No. 91).2

              41.      Pictures of four samples of the Accused Products, namely 2 DT 3.5 R3, 2 DT

     3.5 L3, 7 DT 2.7 R3 and 7 DT 2.7 L3 are shown in Exhibit D attached hereto.

              42.      On information and belief, the 7 DT 2.7 R3 and 7 DT 2.7 L3 products are also

     identified by VOI as 2 DT 2.7 R3 and 2 DT 2.7 L3, respectively.

              43.      The 2 DT 3.5 L3 plate is pictured below in a side-by-side comparison with

     Figure 1 of the '921 patent.


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                (Ex. D, VOI 2 DT 3.5 L3)                                ('921 Patent, Figure 1.)


     2 Syntec's US distribution arm, doing business as Syntec North America, was represented in the matter by the
     Fox Rothschild firm, including Attorney James Doroshow, the same attorney that represented VOI during its
     2013 interactions with DePuy Synthes about the `921 patent. Mr. Doroshow is also counsel of record for VOI in
     the present case. DePuy Synthes is informed and believed that these facts establish the close relationship between
     Syntec and VOI.




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            44.     The 7 DT 2.7 L3 (a/k/a the 2 DT 2.7 L3) plate is pictured below in a side-by-

     side comparison with Figure 1 of the '921 patent.


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              (Ex. D, VOI 7 DT 2.7 L3)                         ('921 Patent, Figure 1.)



            45.     On information and belief, VOI's naming convention is such that it uses the

     letter "R" (e.g., 2 DT 3.5 R3) for plates intended for implantation on the right leg of the animal

     and the letter "L" (e.g., 2 DT 3.5 L3) for plates intended for implantation on the left leg of the

     animal. On information and belief, VOI's TPLO plates that have the same model number

     except for an "R" or "L" are mirror images of each other.

                  COMMUNICATIONS BETWEEN DEPUY SYNTHES AND VOI

            46.     Beginning no later than October 14, 2013, DePuy Synthes put VOI on notice of

     the '921 patent. Exhibit C. There was an exchange between November 1, 2013 and January 2,

     2014, in which VOI made representations regarding how its products were designed. Exhibits

     E through H.    Plaintiffs are informed and believe that VOI has since changed its designs.




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     Plaintiffs are informed and believe that VOI arranged for Plaintiffs to receive doctored versions

     of VOI plates (with "old angles") to hide the plates' true design "on purpose":

       Pram             V7t.i/maayEriiicipecIpc Implants. ipaenskQvc.s • mws,m..x.coni
       Spelt            3114/2016 3;01;12 PM
       To               Sten Mcam-ent5teheewetirnplantccoml
       Subject.            D. J m Ruusch ti1707




       On Mon, Mar [4, 2016 at 12!40 Phi„ Ste►e rileQueen ` p:1,,,ea +rC mpI.1!w t arrE> wrote
       Just a heads-up. This is the guy that I remember Shawn having issues with. He has riot bought ti-on'
       us in several years. Said he used to know Sandy.

       He was asking Fuji very detailed questions about otir Swiss TPLO plates. Synthes told him that our
       plates did not have the correct screw angles proximally and he wanted to verify. Also asking about
       mechanical testing, etc

       We sent Synthes a sample of a plate some time back and we sent a single threaded lockhg plate
       with the old angles (on purpose), fn ways I believe this has kept them off of our back

       I told Fuji to say she did not know but we would get back with him. I don't plan on callirg him back I
       believe he throws us under the bus as much as possible. He now has a mobile practice in CA.

       I added another note to his account

       OK III/inks for the h mid% up.
       Nil rick




      [VO1_031138.]

                  47.       After the above-referenced communications between DePuy Synthes and VOI,

     VOI attempted to hide from public scrutiny its activity involving TPLO plates. For example,

     in May 2016, the President of VOI instructed a VOI employee not to make available for "online

     direct purchase," the "SYNTHES TPLO plates," making clear that VOI was both copying

     DePuy Synthes designs and attempting to hide this because of fear of a lawsuit.

      On Mon. May 23, 2016 at 4:18 PM„ Kevin Vandyke <kevin@yetimplants.corn> wrote.
      Are all items in the catalog available for online direct purchase?

       Nol the SYNTHES TPLO plates. Everything else yes.




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                 48.       As another example, in March 2017, a VOI employee requested that the

     company include in its brochure the "Swiss TPLO plate." The President of VOI responded "I

     can't handle the risk of a lawsuit/injunction by J&J on all Swiss tplo plates would be a knockout

     punch at this time."

      Message
      From:            Veterinary Orthopedic Implants [patrick@vetimplants.com]
      Sent:            3/29/2017 8:27:28 AM
      To:              Marcy Vandyke [marcy@vetimplants.com]
      CC:              Tim Van Horssen [tim@vetimplants.com]
      BCC:             rebecca@vetimplants.com
      Subject:         Re: [Test] Be Prepared This Year...


      I can't handle the risk of a lawsuit / injunction by J&J on all Swiss tplo plates would be a knockout punch at this
      time.

      I say no.

      Perhaps down the road.

      P

                 49.       As another example, in February 2017, VOI employees, including the President

     of VOI noted that in VOI's catalogues "we can not use the synthes like TPLO plates for

     obvious reasons."

      From:            Cassandra Dygert [tassandragnietimplants.com]
      Sent             2/2/2016 10:48:34 AM
      To:              Tim VanHorssen Itim@yetimplants.coml; Patrick Gendreau Ipatrick@vetimplants.comj; Rebecca Baltou
                       [rebecca@vetimplants.comi
      Subject:         Quality X-Ray s


      Hi everyone :)

      The catalog is ready except for this cover debate heh!

      Just an FYI



      Tim, I know you do not 1 ike the current X-Ray of our Y TPLO plate, and we can not use the syndics like TPLO
      plates for obvious reasons. The CBLO X-rays are just not looking so hot, so I think we need to reach out
      somehow for new X Rays.




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            50.       On information and belief, Syntec was involved in the copying activities. For

     example in late 2013 Syntec and VOI were exchanging emails regarding the creation of plates

     that "match[] Synthes samples."

               N essage
              From          Steve McQueen isteve@vetimplants.com[
              Sent:         8/19/2013 10:06:23 AM
              To:           Jennifer Sung-new e-mail [jennifer.s@eagieseye.com.twil
              CC:           Patrick Gendreau Ipatrick@vetimplants.com]; Charles Chang-Syntec jsynchang@m571.hinet.net];
                            peter@eagleseye,com.tw
              Subject:      Swiss TPt0 plate production
              Attachments   Swiss TPLO Plates.xlsx


              Please note that we still have some wrong angles on the TOP holes of Swiss TPLO plate in stock, & some under
              production Attached please kindly find the list of these plates are under production, and kindly confirm to accept
              them. As for the illy in stock, we are still checking. and will inform you A.S A P

              Meanwhile, you attached a list for all the plates to be applied to, which we can't print out, so please kindly re -sent
              the excel files for our reference. Thanks.


              I have attached a list of all TPLO plates that need to have the hole angles verified as matching Synthes samples



            51.       On information and belief, Syntec manufactures all of VOI's accused TPLO

     plates as well as its accused TPLO Kits and materials that are functionally part of the accused

     TPLO Kits:

                  [BY MR. SHEASBY:
                  Q.]  Let me ask you this: Who manufactures the accused products in this
                       case?
                  MR. ENDERSBY: Objection to form.
                  THE WITNESS: I have never seen them being manufactured, so I can't --
                       I can't say for sure.
                  BY MR. SHEASBY:
                  Q.   What company ships them to you?
                  A.   Syntec Scientific.
                  Q.   That goes for the screws as well, sir?
                  MR. ENDERSBY: Objection to form.
                  THE WITNESS: Correct.
                  BY MR. SHEASBY
                  Q.   Is VOI exploring an alternative source of manufacture
                  MR. ENDERSBY: Form.
                  THE WITNESS: We have multiple sources, and we're always looking for
                       supplemental and better sources. It's an ongoing process.
                  BY MR. SHEASBY:




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                  Q.   Have you identified any supplemental or better sources for the
                       products at issue in this case? MR. ENDERSBY: Objection to form.
                  THE WITNESS: I don't know.
                  BY MR. SHEASBY:
                  Q.   Who would know that information?
                  A.   I would.

     Gendreau Depo. at 23:9-24:10.

                                FIDELIO IS INDEPENDENTLY LIABLE

            52.        VOI has admitted in untimely corporate disclosure statements that its parent is

     "Fidelio Capital d/b/a Ossium." See Doc. 214. On information and belief, Fidelio may now be

     conducting similar activities under the name "Movora."

            53.        On information and belief, Ossium in turn advertises that it is distributing the

     orthopedic implants and kits that are the subject of this lawsuit in the United States, listing

     Patrick Gendreau as one of three individuals under the heading "CEO" and including a link to

     the VOI website:

                Ossium Group ("Ossium") was created by Fidelio through the acquisition of
                three companies located in Switzerland and the U.S. during 2019 and 2020,
                creating a global leader within veterinary orthopedic implants.

                In addition to designing and distributing veterinary orthopedic implants and
                instruments, Ossium runs educational seminars to educate and train
                veterinarians in the various procedures as well as keeping them up to date of
                recent product developments.

                Boasting a broad product offering ranging from advanced hip implants to
                sutures, the group will continue to invest in innovation and R&D, and serve
                the market through best-in-class commercial operations. Products are sold to
                veterinarians and animal hospitals in 45+ markets with the largest product
                groups being implants for hips and knees as well as fracture plates.

     Ossium,   FIDELIO CAPITAL, https://fideliocapital.se/cases/ossium-2/.

            54.        On information and belief, the training seminars educate and instruct

     veterinarians to conduct procedures involving the Accused Products. For example, Matthew



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     Haas, a former VOI sales executive, explained at deposition that the purpose of such

     educational seminars was to "target [veterinarians] to try to have them gain interest and

     confidence in their ability to do TPLO through a course." Haas Depo. at 19:9-16. In a sworn

     declaration submitted in the matter Veterinary Orthopedic Implants, Inc. v. Matthew Haas, No.

     20-cv-00868-MMH-MCR (M.D. Fla. Aug. 18, 2020), Mr. Haas further explained that though

     such training seminars or "labs" are "ostensibly non-commercial and instead purely

     education, . . . approximately 80% of [his] sales occurred at labs because doctors would learn

     about the new techniques and ask what products [VOI] sells that can support that technique."

     20-cv-00868-MMH-MCR, Doc. 18-2, ¶ 12.

            55.     On information and belief, VOI is being used as an alter ego and mere

     instrumentality of its majority shareholder Fidelio to unfairly and inequitably shield itself from

     liability incurred by VOI's ongoing enterprise of copying Plaintiffs' patented products. For

     example, VOI's corporate representative and President, Patrick Gendreau, testified, "I don't

     have an opinion" when asked whether VOI was solvent when it was purchased by Fidelio and

     refused to provide testimony on VOI's financial arrangements with Fidelio. See, e.g., Gendreau

     Depo. at 110:16-19; id. at 35:8-12 ("Q. Did Fidelio make a capital investment into VOI?

     [Objection] A. I signed an agreement agreeing not to speak to this."). As another example, Tim

     VanHorssen, a VOI Business Development Executive, testified that VOI management has

     weekly calls with executives the Fidelio group, but could not or would not identify anything

     that was discussed on such calls. VanHorssen Depo. at 11-21.




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             56.     Public statements by employees of the Ossium Group further confirm that it

     does not observe corporate formalities and that it is using the entities that make up the Ossium

     Group as alter egos.

                   From: Annette Baez Vega <annette@biomedtrix.corn>
                   Date: October 26. 2020 at 6:21:33 PM MST
                   To: Ross Lirtzman <RossPasgscottsdale.com>
                   Subject: BioMedtrix TPLO plates


                Hi Ross,

                I hope you are well and I heard Synthes is on backorder on their
                3.5 plates. We have some in stock as well as VOI and Kyon. In
                2021 our finances will be combined into one company and
                between VOI, Kyon, and BioMedtrix we own a vast percentage in
                the orthopedic industry.

                Please let me know if I can fulfill any of your needs.

                Sincerely.
                Annette


                        Annette Baez
                        Technical Sales Associate
                        t 973.265.9036 I L) 908.868 6352

                BioMedtrix.com
                9 Whiwmv Fid             li 212?_
                                                ny NJ 07981
                   EP

             57.     For example, on information and belief, employees of one entity "Biomedtrix"

     are offering for sale infringing TPLO plates imported by VOI as alternatives to "Synthes" (i.e.,

     Plaintiffs') plates.

             58.     Further, on information and belief, Ossium combines Kyon, BioMedtrix and

     VOI and treats them as one entity.

             59.     On information and belief, VOI is attempting to hide this commercial behavior.

     For example, a senior executive at VOI denied that Kyon or BioMedtrix employees are



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     marketing VOI products merely weeks before the above-referenced solicitation by Biomedtrix

     on behalf of all Ossium members (including VOI). VanHorssen Depo. at 12:7-14 ("Q. Do

     KYON and BioMedtrix's employees market VOI products to customers? A. They have not

     that I'm aware of. Q. Is that something that's being discussed? A. We have spoke about it. Q.

     And what have been the contents of the discussions? A. I don't recall the details.").

                                          COUNT ONE
                      VOI Direct and Indirect Infringement of the '921 patent

            60.     DePuy Synthes incorporates by reference each of the allegations set forth in

     paragraphs 1-59 above.

            61.     On information and belief, VOI, without authority, has directly infringed and

     continues to directly infringe the '921 patent, under 35 U.S.C. § 271(a), at least by

     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products. For example, through Ossium (and/or Movora), Fidelio

     runs, and VOI participates in, educational seminars to educate and train veterinarians in the

     various procedures that involve the Accused Products.          VOI also provides screws and

     equipment that are used with the plates and methods accused of infringement in this action.

     On information and belief, the underlying purpose of these seminars is to sell and offer for sale

     the Accused Products and to instruct veterinarians to use such products in an infringing manner.

     Through these educational seminars, VOI induces veterinarians to directly infringe the '921

     patent. For example, Matthew Haas, a former VOI sales executive, explained at deposition

     that the purpose of such educational seminars was to "target [veterinarians] to try to have them

     gain interest and confidence in their ability to do TPLO through a course." Haas Depo. at 19:9-

     16. In a sworn declaration submitted in the matter Veterinary Orthopedic Implants, Inc. v.




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     Matthew Haas, No. 20-cv-00868-MMH-MCR (M.D. Fla. Aug. 18, 2020), Mr. Haas further

     explained that though such training seminars or "labs" are "ostensibly non-commercial and

     instead purely education, . . . approximately 80% of [his] sales occurred at labs because doctors

     would learn about the new techniques and ask what products [VOI] sells that can support that

     technique." 20-cv-00868-MMH-MCR, Doc. 18-2, 1112.

            62.     VOI manufactures, imports, sells or offers for sale other products and services

     that are suitable for use in TPLO and CBLO procedures. Examples of VOI's products

     constituting convoyed sales are included in the attached Exhibit I, as well as substantially

     similar designs to those designs in Exhibit I.

            63.     A detailed infringement analysis for each of the Accused Products is provided

     in the interrogatory responses served in this matter, which are attached as Exhibit L. For

     illustrative purposes, and as described in greater detail herein, the 2 DT 3.5 R3, 2 DT 3.5 L3,

     7 DT 2.7 R3 and 7 DT 2.7 L3 TPLO plates practice each limitation of at least claim 12 of

     the '921 patent. On information and belief, these plates are representative of the other Accused

     Products identified in Exhibit B. On information and belief, the other Accused Products

     practice each limitation of at least claim 12 of the '921 patent for the same reasons as those

     described herein for the 2 DT 3.5 R3, 2 DT 3.5 L3, 7 DT 2.7 R3 and 7 DT 2.7 L3 TPLO plates.

            64.     On information and belief, the 2 DT 3.5 L3 TPLO plate is a mirror image of the

     2 DT 3.5 R3 TPLO plate. The infringement analysis for the two plates is identical after

     accounting for the fact that, being mirror images, the placement of the cranial and caudal screw

     holes are reversed, as indicated in the side-by-side comparison below.




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                                            Caudal                       •
                                          Screw Hole                                Cranial
        Cranial
      Screw Hole                                                                  Screw Hole




                            •




                  (Ex. D, 2 DT 3.5 R3)                         (Ex. D, 2 DT 3.5 L3)

            65.      On information and belief, the 7 DT 2.7 L3 TPLO plate is a mirror image of the

     7 DT 2.7 R3 TPLO plate. The infringement analysis for the two plates is identical after

     accounting for the fact that, being mirror images, the placement of the cranial and caudal screw

     holes are reversed, as indicated in the side-by-side comparison below.




                                             Caudal
                                           Screw Hole
           Cranial                                                                    Cranial
         Screw Hole                                                                 Screw Hole




                   (Ex. D, 7 DT 2.7 R3)                          (Ex. D, 7 DT 2.7 L3)




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            66.     In addition to the infringement analysis provided below, a claim chart alleging

     facts demonstrating infringement using the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates as

     illustrative examples is attached as Exhibit J, and is incorporated herein by reference.

             67.    On information and belief, the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates do

     not differ for purposes of infringement from the other Accused Products identified in Exhibit

     B. For example, the 2 DT 3.5 R3 TPLO plate does not differ materially from the 7 DT 2.7 R3

     TPLO plate except for the size of the plates, as indicated in the side-by-side comparison below.

     The difference in size does not affect the infringement analysis below. Accordingly, the

     analysis of the 2 DT 3.5 R3 TPLO plate in Exhibit J also demonstrates infringement of the 7

     DT 2.7 R3 TPLO plate.




                             •

                                                                           111


              (Ex. D, VOI 2 DT 3.5 R3)                        (Ex. D, VOI 7 DT 2.7 R3)


             68.    By way of further example, the 2 DT 3.5 L3 and 7 DT 2.7 L3 TPLO plates do

     not differ for purposes of infringement except for the size of the plates, as indicated in the side-

     by-side comparison below. The difference in size does not affect the infringement analysis




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     below. Accordingly, the use of the 2 DT 3.5 L3 TPLO plate in Exhibit J also demonstrates

     infringement of the 7 DT 2.7 L3 TPLO plate.




                            tt
                                                                      •   ,   .




                  (Ex. D, VOI 2 DT 3.5 L3)                     (Ex. D, VOI 7 DT 2.7 L3)


            69.      Claim 12 of the '921 patent is directed to: "A bone plate for securing two tibial

     bone segments as part of a tibial leveling osteotomy procedure for an animal, the bone plate

     comprising: a distal portion comprising an elongated shaft having disposed therein a plurality

     of screw holes each designed to accept a screw; and a proximal portion comprising at least

     three screw holes each designed to accept a screw wherein a first screw hole is a superior screw

     hole, a second screw hole is a cranial screw hole located distally and cranially from the superior

     screw hole, and a third screw hole is a caudal screw hole located distally and caudally from the

     superior screw hole, wherein screw hole paths for the at least three screw holes are

     predetermined and angled so as to direct screws away from an articular surface between a tibia

     and a femur, away from an osteotomy surface of the tibia, and away from edges of the tibia

     and into a central mass of the tibia."




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               70.   The Accused Products satisfy the requirement in claim 12 that the bone plate

     comprises "a distal portion comprising an elongated shaft." As shown in the illustrative

     examples contained in Exhibit D and the claim chart attached hereto as Exhibit J, the 2 DT 3.5

     R3 and 2 DT 3.5 L3 TPLO plates each have a distal portion 12. The shaft 80 of the distal

     portion 12 is elongated relative to its depth (not shown, but reported by VOI as 3.7 mm) and

     width W (11 mm)

               71.   The Accused Products satisfy the requirement in claim 12 that the bone plate's

     distal portion "hav[e] disposed therein a plurality of screw holes each designed to accept a

     screw." As shown in the illustrative examples contained in Exhibit D and the claim chart

     attached hereto as Exhibit J, the distal portion 12 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates comprises three screw holes 16 that are designed to accept screws.

               72.   The Accused Products satisfy the requirement in claim 12 that the bone plate

     comprises "a proximal portion comprising at least three screw holes each designed to accept a

     screw." As shown in the illustrative examples contained in Exhibit D and the claim chart

     attached hereto as Exhibit J, the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates each have a

     proximal portion 14 comprising three screw holes 30, 31 and 32 that are designed to accept

     screws.

               73.   The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a first screw hole [that] is a superior screw hole." As shown in

     the illustrative examples contained in Exhibit D and the claim chart attached hereto as Exhibit

     J, the proximal portion 14 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises

     a superior screw hole 30.




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            74.     The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a second screw hole [that] is a cranial screw hole located distally

     and cranially from the superior screw hole." As shown in the illustrative examples contained

     in Exhibit D and the claim chart attached hereto as Exhibit J, the proximal portion 14 of each

     of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises a cranial screw hole 31, located

     closer to the distal portion 12 and to the cranial side relative to the superior screw hole 30.

     (See '921 patent, Fig. 7.)

            75.     The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a third screw hole [that] is a caudal screw hole located distally

     and caudally from the superior screw hole." As shown in the illustrative examples contained

     in Exhibit D and the claim chart attached hereto as Exhibit J, the proximal portion 14 of each

     of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises a caudal screw hole 32, located

     closer to the distal portion 12 and to the caudal side relative to the superior screw hole 30.

     (See '921 patent, Fig. 7.)

            76.     The Accused Products satisfy the requirement in claim 12 that the "screw hole

     paths for the at least three screw holes are predetermined and angled so as to direct screws

     away from an articular surface between a tibia and a femur, away from an osteotomy surface

     of the tibia, and away from edges of the tibia and into a central mass of the tibia." As described

     above, the proximal portion 14 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates has

     three screw holes 30, 31 and 32. Screws are inserted through each of the superior screw hole

     30, cranial screw hole 31 and caudal screw hole 32 at predetermined angles in both the 2 DT

     3.5 R3 and 2 DT 3.5 L3 TPLO plates.




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            77.     The superior screw hole 30 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO

     plates is predetermined and angled so as to direct the screw in the superior screw hole 30 away

     from an articular surface between the tibia and the femur. The 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates' cranial screw holes 31 and caudal screw holes 32 are both located closer to the

     distal portion 12 (i.e., farther from the articular surface) than the superior screw hole 30 and

     predetermined and angled such that screws in their cranial and caudal screw holes, respectively,

     are directed away from an articular surface.

            78.     The 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates' cranial screw hole 31 and

     caudal screw hole 32 are predetermined and angled to direct screws away from an osteotomy

     surface of the tibia. The superior screw hole 30 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates is located farther away from the distal portion 12 than the cranial screw hole 31

     and caudal screw hole 32 and is predetermined and angled such that the screw in the superior

     screw hole 30 is directed away from an osteotomy surface.

            79.     The caudal screw holes 32, the superior screw holes 30 and the cranial screw

     holes 31 of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates are predetermined and angled to

     direct the screws in their respective screw holes away from edges of the tibia.

            80.     The superior screw hole 30, cranial screw hole 31 and caudal screw hole 32 of

     each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates are predetermined and angled such that

     screws in their respective holes enter into the central mass of the tibia.

            81.     As a result of VOI's infringement of the '921 patent, DePuy Synthes has

     suffered and will continue to suffer damages.




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            82.     VOI' s infringement of the '921 patent is willful, making this an exceptional

     case and entitling DePuy Synthes to enhanced damages and attorneys' fees. VOI became

     aware of the '921 patent no later than DePuy Synthes's letter to VOI dated October 14, 2013.

     On information and belief, VOI has knowingly and willfully infringed the '921 patent by

     manufacturing, importing, using, selling and offering to sell the Accused Products, including

     the Accused Products identified in this complaint.

            83.     Despite its knowledge of its infringement of the '921 patent, VOI has continued

     to manufacture, import, use, sell and offer to sell the Accused Products and instruct its

     customers to use the Accused Products in a manner that infringes.

            84.     On information and belief, VOI does not include certain of the Accused

     Products in its publicly available catalog (see Exhibit K), but nevertheless offers the Accused

     Products for sale to prospective customers through privately circulated marketing materials.

            85.     VOI contended in its correspondence to DePuy Synthes that its TPLO plates do

     not infringe claim 12 of the '921 patent because the screw holes are aligned with generally

     parallel axes and do not have the configuration necessary to achieve the intended function.

     Such contentions were and are frivolous because they are not directed to actual claim

     limitations of the '921 patent.

            86.     DePuy Synthes markets TPLO plates (the "DePuy Synthes TPLO plates") that

     have a proximal portion comprising at least three screw holes each designed to accept a screw

     wherein a first screw hole is a superior screw hole, a second screw hole is a cranial screw hole

     located distally and cranially from the superior screw hole, and a third screw hole is a caudal

     screw hole located distally and caudally from the superior screw hole, wherein screw hole




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     paths for the at least three screw holes are predetermined and angled so as to direct screws

     away from an articular surface between a tibia and a femur, away from an osteotomy surface

     of the tibia, and away from edges of the tibia and into a central mass of the tibia. Additional

     examples of infringement are attached as Exhibit L.

            87.     DePuy Synthes marks the DePuy Synthes TPLO plates with the patent number

     of the '921 patent.

            88.     On information and belief, VOI copied the DePuy Synthes TPLO plates and

     has designed the Accused Products to have proximal portion screw holes that result in the same

     screw angles as those in the DePuy Synthes TPLO plates.

            89.     DePuy Synthes has been irreparably harmed by VOI' s infringement of

     the '921 patent and will continue to be harmed unless VOI's infringing conduct is restrained

     and enjoined by order of this Court.

                                            COUNT TWO
                           Syntec's Direct Infringement of the '921 Patent

            90.     DePuy Synthes incorporates by reference each of the allegations set forth in

     paragraphs 1—89 above.

            91.     On information and belief, Syntec, without authority, has directly infringed and

     continues to directly infringe the '921 patent, under 35 U.S.C. § 271(a), at least by

     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products.

            92.     On information and belief, Syntec manufactures, imports, sells or offers for sale

     other products and services that are suitable for use in TPLO and CBLO procedures. Examples

     of products constituting convoyed sales are included in the attached Exhibit I, as well as




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     substantially similar designs to those designs in Exhibit I. Plaintiffs are informed and believe

     that Syntec at least supplies screws from this list.

            93.     A detailed infringement analysis for each of the Accused Products is provided

     in the interrogatory responses served in this matter, which are attached as Exhibit L. For

     illustrative purposes, and as described in greater detail herein, the 2 DT 3.5 R3, 2 DT 3.5 L3,

     7 DT 2.7 R3, and 7 DT 2.7 L3 TPLO plates practice each limitation of at least claim 12 of

     the '921 patent. On information and belief, these plates are representative of the other Accused

     Products identified in Exhibit B. On information and belief, the other Accused Products

     practice each limitation of at least claim 12 of the '921 patent for the same reasons as those

     described herein for the 2 DT 3.5 R3, 2 DT 3.5 L3, 7 DT 2.7 R3, and 7 DT 2.7 L3 TPLO plates.

            94.      On information and belief, the 2 DT 3.5 L3 TPLO plate is a mirror image of the

     2 DT 3.5 R3 TPLO plate. The infringement analysis for the two plates is identical after

     accounting for the fact that, being mirror images, the placement of the cranial and caudal screw

     holes are reversed, as indicated in the side-by-side comparison below.




                                              Caudal
                                            Screw Hole                              Cranial
        Cranial
      Screw Hole                                                                  Screw Hole




                             •




                  (Ex. D, 2 DT 3.5 R3)                         (Ex. D, 2 DT 3.5 L3)




                                                     33
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            95.     On information and belief, the 7 DT 2.7 L3 TPLO plate is a mirror image of the

     7 DT 2.7 R3 TPLO plate. The infringement analysis for the two plates is identical after

     accounting for the fact that, being mirror images, the placement of the cranial and caudal screw

     holes are reversed, as indicated in the side-by-side comparison below.




                                              Caudal
                                            Screw Hole
           Cranial                                                                     Cranial
         Screw Hole                                                                  Screw Hole




                   (Ex. D, 7 DT 2.7 R3)                          (Ex. D, 7 DT 2.7 L3)


            96.     In addition to the infringement analysis provided below, a claim chart alleging

     facts demonstrating infringement using the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates as

     illustrative examples is attached as Exhibit J, and is incorporated herein by reference.

            97.     On information and belief, the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates do

     not differ for purposes of infringement from the other Accused Products. For example, the 2

     DT 3.5 R3 TPLO plate does not differ materially from the 7 DT 2.7 R3 TPLO plate except for

     the size of the plates, as indicated in the side-by-side comparison below. The difference in size

     does not affect the infringement analysis below. Accordingly, the analysis of the 2 DT 3.5 R3

     TPLO plate in Exhibit J also demonstrates infringement of the 7 DT 2.7 R3 TPLO plate.




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                                                                                N.




                             •




              (Ex. D, VOI 2 DT 3.5 R3)                        (Ex. D, VOI 7 DT 2.7 R3)


             98.      By way of further example, the 2 DT 3.5 L3 and 7 DT 2.7 L3 TPLO plates do

     not differ for purposes of infringement except for the size of the plates, as indicated in the side-

     by-side comparison below. The difference in size does not affect the infringement analysis

     below. Accordingly, the use of the 2 DT 3.5 L3 TPLO plate in Exhibit J also demonstrates

     infringement of the 7 DT 2.7 L3 TPLO plate.




                   (Ex. D, VOI 2 DT 3.5 L3)                     (Ex. D, VOI 7 DT 2.7 L3)




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            99.     Claim 12 of the '921 patent is directed to: "A bone plate for securing two tibial

     bone segments as part of a tibial leveling osteotomy procedure for an animal, the bone plate

     comprising: a distal portion comprising an elongated shaft having disposed therein a plurality

     of screw holes each designed to accept a screw; and a proximal portion comprising at least

     three screw holes each designed to accept a screw wherein a first screw hole is a superior screw

     hole, a second screw hole is a cranial screw hole located distally and cranially from the superior

     screw hole, and a third screw hole is a caudal screw hole located distally and caudally from the

     superior screw hole, wherein screw hole paths for the at least three screw holes are

     predetermined and angled so as to direct screws away from an articular surface between a tibia

     and a femur, away from an osteotomy surface of the tibia, and away from edges of the tibia

     and into a central mass of the tibia."

            100.    The Accused Products satisfy the requirement in claim 12 that the bone plate

     comprises "a distal portion comprising an elongated shaft." As shown in the illustrative

     examples contained in Exhibit D and the claim chart attached hereto as Exhibit J, the 2 DT 3.5

     R3 and 2 DT 3.5 L3 TPLO plates each have a distal portion 12. The shaft 80 of the distal

     portion 12 is elongated relative to its depth (not shown, but reported by VOI as 3.7 mm) and

     width W (11 mm).

            101.    The Accused Products satisfy the requirement in claim 12 that the bone plate's

     distal portion "hav[e] disposed therein a plurality of screw holes each designed to accept a

     screw." As shown in the illustrative examples contained in Exhibit D and the claim chart

     attached hereto as Exhibit J, the distal portion 12 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates comprises three screw holes 16 that are designed to accept screws. The Accused




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     Products satisfy the requirement in claim 12 that the bone plate comprises "a proximal portion

     comprising at least three screw holes each designed to accept a screw." As shown in the

     illustrative examples contained in Exhibit D and the claim chart attached hereto as Exhibit J,

     the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates each have a proximal portion 14 comprising

     three screw holes 30, 31 and 32 that are designed to accept screws.

            102.    The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a first screw hole [that] is a superior screw hole." As shown in

     the illustrative examples contained in Exhibit D and the claim chart attached hereto as Exhibit

     J, the proximal portion 14 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises

     a superior screw hole 30.

            103.    The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a second screw hole [that] is a cranial screw hole located distally

     and cranially from the superior screw hole." As shown in the illustrative examples contained

     in Exhibit D and the claim chart attached hereto as Exhibit J, the proximal portion 14 of each

     of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises a cranial screw hole 31, located

     closer to the distal portion 12 and to the cranial side relative to the superior screw hole 30.

     (See '921 patent, Fig. 7.)

            104.    The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a third screw hole [that] is a caudal screw hole located distally

     and caudally from the superior screw hole." As shown in the illustrative examples contained

     in Exhibit D and the claim chart attached hereto as Exhibit J, the proximal portion 14 of each

     of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises a caudal screw hole 32, located




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     closer to the distal portion 12 and to the caudal side relative to the superior screw hole 30.

     (See '921 patent, Fig. 7.)

            105.    The Accused Products satisfy the requirement in claim 12 that the "screw hole

     paths for the at least three screw holes are predetermined and angled so as to direct screws

     away from an articular surface between a tibia and a femur, away from an osteotomy surface

     of the tibia, and away from edges of the tibia and into a central mass of the tibia." As described

     above, the proximal portion 14 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates has

     three screw holes 30, 31 and 32. Screws are inserted through each of the superior screw hole

     30, cranial screw hole 31 and caudal screw hole 32 at predetermined angles in both the 2 DT

     3.5 R3 and 2 DT 3.5 L3 TPLO plates.

            106.    The superior screw hole 30 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO

     plates is predetermined and angled so as to direct the screw in the superior screw hole 30 away

     from an articular surface between the tibia and the femur. The 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates' cranial screw holes 31 and caudal screw holes 32 are both located closer to the

     distal portion 12 (i.e., farther from the articular surface) than the superior screw hole 30 and

     predetermined and angled such that screws in their cranial and caudal screw holes, respectively,

     are directed away from an articular surface.

            107.    The 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates' cranial screw hole 31 and

     caudal screw hole 32 are predetermined and angled to direct screws away from an osteotomy

     surface of the tibia. The superior screw hole 30 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates is located farther away from the distal portion 12 than the cranial screw hole 31




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     and caudal screw hole 32 and is predetermined and angled such that the screw in the superior

     screw hole 30 is directed away from an osteotomy surface.

            108.    The caudal screw holes 32, the superior screw holes 30 and the cranial screw

     holes 31 of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates are predetermined and angled to

     direct the screws in their respective screw holes away from edges of the tibia.

            109.    The superior screw hole 30, cranial screw hole 31 and caudal screw hole 32 of

     each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates are predetermined and angled such that

     screws in their respective holes enter into the central mass of the tibia.

            110.    As a result of Syntec's infringement of the '921 patent, DePuy Synthes has

     suffered and will continue to suffer damages.

            111.    Syntec's infringement of the '921 patent is willful, making this an exceptional

     case and entitling DePuy Synthes to enhanced damages and attorneys' fees. Syntec became

     aware of the '921 patent no later than when it was informed of this lawsuit and provided certain

     design information to VOI as part of this lawsuit. On information and belief, Syntec has

     knowingly and willfully infringed the '921 patent by manufacturing, importing, using, selling

     and offering to sell the Accused Products.

            112.    Despite its knowledge of its infringement of the '921 patent, Syntec has

     continued to manufacture, import, use, sell and offer to sell the Accused Products and instruct

     its customers to use the Accused Products in a manner that infringes.

            113.    On information and belief, Syntec manufactures, sells, imports into the United

     States, and offers the Accused Products for sale to VOI.




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            114.    DePuy Synthes markets TPLO plates (the "DePuy Synthes TPLO plates") that

     have a proximal portion comprising at least three screw holes each designed to accept a screw

     wherein a first screw hole is a superior screw hole, a second screw hole is a cranial screw hole

     located distally and cranially from the superior screw hole, and a third screw hole is a caudal

     screw hole located distally and caudally from the superior screw hole, wherein screw hole

     paths for the at least three screw holes are predetermined and angled so as to direct screws

     away from an articular surface between a tibia and a femur, away from an osteotomy surface

     of the tibia, and away from edges of the tibia and into a central mass of the tibia. Additional

     examples of infringement are attached as Exhibit L.

            115.    DePuy Synthes marks the DePuy Synthes TPLO plates with the patent number

     of the '921 patent.

            116.    On information and belief, Syntec copied the DePuy Synthes TPLO plates and

     has designed the Accused Products to have proximal portion screw holes that result in the same

     screw angles as those in the DePuy Synthes TPLO plates.

            117.    DePuy Synthes has been irreparably harmed by Syntec's infringement of

     the '921 patent and will continue to be harmed unless Syntec's infringing conduct is restrained

     and enjoined by order of this Court.

                                                 COUNT THREE
                           Fidelio's Direct and Indirect Infringement of the '921 Patent

            118.     DePuy Synthes incorporates by reference each of the allegations set forth in

     paragraphs 1-117 above.

            119.    On information and belief, Fidelio, without authority, has directly infringed and

     continues to directly infringe the '921 patent, under 35 U.S.C. § 271(a), at least by




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     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products. For example, through Ossium (and/or Movora), Fidelio

     runs educational seminars to educate and train veterinarians in the various procedures

     involving the Accused Products. On information and belief, the underlying purpose of these

     seminars is to sell and offer for sale the Accused Products and to instruct veterinarians to use

     such products in an infringing manner. Through these educational seminars, Fidelio induces

     veterinarians to directly infringe the '921 patent.

               120.   For illustrative purposes, and as described in greater detail herein, the 2 DT 3.5

     R3, 2 DT 3.5 L3, 7 DT 2.7 R3 and 7 DT 2.7 L3 TPLO plates practice each limitation of at least

     claim 12 of the '921 patent. On information and belief, these plates are representative of the

     other Accused Products identified in Exhibit B. On information and belief, the other Accused

     Products practice each limitation of at least claim 12 of the '921 patent for the same reasons as

     those described herein for the 2 DT 3.5 R3, 2 DT 3.5 L3, 7 DT 2.7 R3 and 7 DT 2.7 L3 TPLO

     plates.

               121.   On information and belief, the 2 DT 3.5 L3 TPLO plate is a mirror image of the

     2 DT 3.5 R3 TPLO plate. The infringement analysis for the two plates is identical after

     accounting for the fact that, being mirror images, the placement of the cranial and caudal screw

     holes are reversed, as indicated in the side-by-side comparison below.




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                                            Caudal                       •
                                          Screw Hole                                Cranial
        Cranial
      Screw Hole                                                                  Screw Hole




                            •




                 (Ex. D, 2 DT 3.5 R3)                          (Ex. D, 2 DT 3.5 L3)

            122.    On information and belief, the 7 DT 2.7 L3 TPLO plate is a mirror image of the

     7 DT 2.7 R3 TPLO plate. The infringement analysis for the two plates is identical after

     accounting for the fact that, being mirror images, the placement of the cranial and caudal screw

     holes are reversed, as indicated in the side-by-side comparison below.




                                             Caudal
                                           Screw Hole
           Cranial                                                                    Cranial
         Screw Hole                                                                 Screw Hole




                   (Ex. D, 7 DT 2.7 R3)                          (Ex. D, 7 DT 2.7 L3)




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             123.   In addition to the infringement analysis provided below, a claim chart alleging

     facts demonstrating infringement using the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates as

     illustrative examples is attached as Exhibit J, and is incorporated herein by reference.

             124.   On information and belief, the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates do

     not differ for purposes of infringement from the other Accused Products identified in Exhibit

     B. For example, the 2 DT 3.5 R3 TPLO plate does not differ materially from the 7 DT 2.7 R3

     TPLO plate except for the size of the plates, as indicated in the side-by-side comparison below.

     The difference in size does not affect the infringement analysis below. Accordingly, the

     analysis of the 2 DT 3.5 R3 TPLO plate in Exhibit J also demonstrates infringement of the 7

     DT 2.7 R3 TPLO plate.




                             •

                                                                           111


              (Ex. D, VOI 2 DT 3.5 R3)                        (Ex. D, VOI 7 DT 2.7 R3)


             125.   By way of further example, the 2 DT 3.5 L3 and 7 DT 2.7 L3 TPLO plates do

     not differ for purposes of infringement except for the size of the plates, as indicated in the side-

     by-side comparison below. The difference in size does not affect the infringement analysis




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     below. Accordingly, the use of the 2 DT 3.5 L3 TPLO plate in Exhibit J also demonstrates

     infringement of the 7 DT 2.7 L3 TPLO plate.




                            tt
                                                                      •   ,   .




                (Ex. D, VOI 2 DT 3.5 L3)                       (Ex. D, VOI 7 DT 2.7 L3)


            126.    Claim 12 of the '921 patent is directed to: "A bone plate for securing two tibial

     bone segments as part of a tibial leveling osteotomy procedure for an animal, the bone plate

     comprising: a distal portion comprising an elongated shaft having disposed therein a plurality

     of screw holes each designed to accept a screw; and a proximal portion comprising at least

     three screw holes each designed to accept a screw wherein a first screw hole is a superior screw

     hole, a second screw hole is a cranial screw hole located distally and cranially from the superior

     screw hole, and a third screw hole is a caudal screw hole located distally and caudally from the

     superior screw hole, wherein screw hole paths for the at least three screw holes are

     predetermined and angled so as to direct screws away from an articular surface between a tibia

     and a femur, away from an osteotomy surface of the tibia, and away from edges of the tibia

     and into a central mass of the tibia."




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               127.   The Accused Products satisfy the requirement in claim 12 that the bone plate

     comprises "a distal portion comprising an elongated shaft." As shown in the illustrative

     examples contained in Exhibit D and the claim chart attached hereto as Exhibit J, the 2 DT 3.5

     R3 and 2 DT 3.5 L3 TPLO plates each have a distal portion 12. The shaft 80 of the distal

     portion 12 is elongated relative to its depth (not shown, but reported by VOI as 3.7 mm) and

     width W (11 mm)

               128.   The Accused Products satisfy the requirement in claim 12 that the bone plate's

     distal portion "hav[e] disposed therein a plurality of screw holes each designed to accept a

     screw." As shown in the illustrative examples contained in Exhibit D and the claim chart

     attached hereto as Exhibit J, the distal portion 12 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates comprises three screw holes 16 that are designed to accept screws.

               129.   The Accused Products satisfy the requirement in claim 12 that the bone plate

     comprises "a proximal portion comprising at least three screw holes each designed to accept a

     screw." As shown in the illustrative examples contained in Exhibit D and the claim chart

     attached hereto as Exhibit J, the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates each have a

     proximal portion 14 comprising three screw holes 30, 31 and 32 that are designed to accept

     screws.

               130.   The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a first screw hole [that] is a superior screw hole." As shown in

     the illustrative examples contained in Exhibit D and the claim chart attached hereto as Exhibit

     J, the proximal portion 14 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises

     a superior screw hole 30.




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            131.    The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a second screw hole [that] is a cranial screw hole located distally

     and cranially from the superior screw hole." As shown in the illustrative examples contained

     in Exhibit D and the claim chart attached hereto as Exhibit J, the proximal portion 14 of each

     of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises a cranial screw hole 31, located

     closer to the distal portion 12 and to the cranial side relative to the superior screw hole 30.

     (See '921 patent, Fig. 7.)

            132.    The Accused Products satisfy the requirement in claim 12 that the bone plate's

     proximal portion comprises "a third screw hole [that] is a caudal screw hole located distally

     and caudally from the superior screw hole." As shown in the illustrative examples contained

     in Exhibit D and the claim chart attached hereto as Exhibit J, the proximal portion 14 of each

     of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates comprises a caudal screw hole 32, located

     closer to the distal portion 12 and to the caudal side relative to the superior screw hole 30.

     (See '921 patent, Fig. 7.)

            133.    The Accused Products satisfy the requirement in claim 12 that the "screw hole

     paths for the at least three screw holes are predetermined and angled so as to direct screws

     away from an articular surface between a tibia and a femur, away from an osteotomy surface

     of the tibia, and away from edges of the tibia and into a central mass of the tibia." As described

     above, the proximal portion 14 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates has

     three screw holes 30, 31 and 32. Screws are inserted through each of the superior screw hole

     30, cranial screw hole 31 and caudal screw hole 32 at predetermined angles in both the 2 DT

     3.5 R3 and 2 DT 3.5 L3 TPLO plates.




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            134.    The superior screw hole 30 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO

     plates is predetermined and angled so as to direct the screw in the superior screw hole 30 away

     from an articular surface between the tibia and the femur. The 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates' cranial screw holes 31 and caudal screw holes 32 are both located closer to the

     distal portion 12 (i.e., farther from the articular surface) than the superior screw hole 30 and

     predetermined and angled such that screws in their cranial and caudal screw holes, respectively,

     are directed away from an articular surface.

            135.    The 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates' cranial screw hole 31 and

     caudal screw hole 32 are predetermined and angled to direct screws away from an osteotomy

     surface of the tibia. The superior screw hole 30 of each of the 2 DT 3.5 R3 and 2 DT 3.5 L3

     TPLO plates is located farther away from the distal portion 12 than the cranial screw hole 31

     and caudal screw hole 32 and is predetermined and angled such that the screw in the superior

     screw hole 30 is directed away from an osteotomy surface.

            136.    The caudal screw holes 32, the superior screw holes 30 and the cranial screw

     holes 31 of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates are predetermined and angled to

     direct the screws in their respective screw holes away from edges of the tibia.

            137.    The superior screw hole 30, cranial screw hole 31 and caudal screw hole 32 of

     each of the 2 DT 3.5 R3 and 2 DT 3.5 L3 TPLO plates are predetermined and angled such that

     screws in their respective holes enter into the central mass of the tibia.

            138.    On information and belief, Fidelio also induces VOI's direct infringement of

     the '921 patent. As set forth in Count One, VOI, without authority, has directly infringed and

     continues to directly infringe the '921 patent, under 35 U.S.C. § 271(a), at least by




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     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products.

            139.    On information and belief, Fidelio controls VOI's decision making with respect

     to which products to sell or continue to sell. Fidelio has induced VOI's direct infringement of

     the '921 patent, including by actively encouraging VOI to continue selling the Accused

     Products.

            140.    As a result of Fidelio's infringement of the '921 patent, DePuy Synthes has

     suffered and will continue to suffer damages.

            141.    Fidelio's infringement of the '921 patent is willful, making this an exceptional

     case and entitling DePuy Synthes to enhanced damages and attorneys' fees. Fidelio became

     aware of the '921 patent no later than May 5, 2020, when it acquired a majority of VOI's shares.

     On information and belief, Fidelio has knowingly and willfully infringed the '921 patent by

     manufacturing, importing, using, selling and offering to sell the Accused Products, including

     the Accused Products identified in this complaint.

            142.    Despite its knowledge of its infringement of the '921 patent, Fidelio has

     continued to manufacture, import, use, sell and offer to sell the Accused Products and instruct

     its customers to use the Accused Products in a manner that infringes.

            143.    DePuy Synthes markets TPLO plates (the "DePuy Synthes TPLO plates") that

     have a proximal portion comprising at least three screw holes each designed to accept a screw

     wherein a first screw hole is a superior screw hole, a second screw hole is a cranial screw hole

     located distally and cranially from the superior screw hole, and a third screw hole is a caudal

     screw hole located distally and caudally from the superior screw hole, wherein screw hole




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     paths for the at least three screw holes are predetermined and angled so as to direct screws

     away from an articular surface between a tibia and a femur, away from an osteotomy surface

     of the tibia, and away from edges of the tibia and into a central mass of the tibia. Additional

     examples of infringement are attached as Exhibit L.

            144.    DePuy Synthes marks the DePuy Synthes TPLO plates with the patent number

     of the '921 patent.

            145.    On information and belief, VOI copied the DePuy Synthes TPLO plates and

     has designed the Accused Products to have proximal portion screw holes that result in the same

     screw angles as those in the DePuy Synthes TPLO plates.

            146.    DePuy Synthes has been irreparably harmed by Fidelio's infringement of

     the '921 patent and will continue to be harmed unless Fidelio's infringing conduct is restrained

     and enjoined by order of this Court.

                                               COUNT FOUR
                           VOI's Direct and Indirect Infringement of the '728 Patent

            147.     DePuy Synthes incorporates by reference each of the allegations set forth in

     paragraphs 1-146 above.

            148.    On information and belief, VOI, without authority, has directly infringed and

     continues to directly infringe the '728 patent, under 35 U.S.C. § 271(a), at least by

     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products. For example, through Ossium (and/or Movora), Fidelio

     runs, and VOI participates in, educational seminars to educate and train veterinarians in the

     various procedures that involve the Accused Products.         VOI also provides screws and

     equipment that are used with the plates and methods accused of infringement in this action.




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     On information and belief, the underlying purpose of these seminars is to sell and offer for sale

     the Accused Products and to instruct veterinarians to use such products in an infringing manner.

     Through these educational seminars, VOI induces veterinarians to directly infringe the '728

     patent. For example, Matthew Haas, a former VOI sales executive, explained at deposition

     that the purpose of such educational seminars was to "target [veterinarians] to try to have them

     gain interest and confidence in their ability to do TPLO through a course." Haas Depo. at 19:9-

     16. In a sworn declaration submitted in the matter Veterinary Orthopedic Implants, Inc. v.

     Matthew Haas, No. 20-cv-00868-MMH-MCR (M.D. Fla. Aug. 18, 2020), Mr. Haas further

     explained that though such training seminars or "labs" are "ostensibly non-commercial and

     instead purely education, . . . approximately 80% of [his] sales occurred at labs because doctors

     would learn about the new techniques and ask what products [VOI] sells that can support that

     technique." 20-cv-00868-MMH-MCR, Doc. 18-2, ¶ 12.

            149.    VOI manufactures, imports, sells or offers for sale other products and services

     that are suitable for use in TPLO and CBLO procedures. Examples of VOI's products

     constituting convoyed sales are included in the attached Exhibit I, as well as substantially

     similar designs to those designs in Exhibit I.

            150.    A detailed infringement analysis for each of the Accused Products is provided

     in Exhibit N. For illustrative purposes, and as described in greater detail herein, the VOI Elite

     TPLO plates practice each limitation of at least claim 1 of the '728 patent. On information and

     belief, these plates are representative of the other Accused Products, including the NXT TPLO

     plates. On information and belief, the other Accused Products practice each limitation of at




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     least claim 1 of the '728 patent for the same reasons as those described herein for the Elite

     TPLO plates.

             151.     On information and belief, the left and right versions of each of VOI's Elite and

     NXT TPLO plates are mirror images of one another. The infringement analysis for the left-

     handed and right-handed plates are identical after accounting for the fact that, being mirror

     images, the placement of the cranial and caudal screw holes are reversed.

             152.     In addition to the infringement analysis provided below, a claim chart alleging

     facts demonstrating infringement using the Elite and NXT TPLO plates as illustrative

     examples is attached as Exhibit N, and is incorporated herein by reference.

             153.     On information and belief, the different models of Elite and NXT TPLO plates

     do not differ for purposes of infringement except for the size of the plates. The difference in

     size does not affect the infringement analysis below.

             154.     Claim 1 of the '728 patent3 is directed to: "A bone plate for securing two tibial

     bone segments as part of a tibial leveling osteotomy procedure for an animal, the bone plate

     comprising: a distal portion comprising an elongated shaft having disposed therein a plurality

     of distal portion screw holes designed to accept a screw; and a proximal portion configured for

     attachment to a cut-away and repositioned portion of the tibia, the cut-away portion of the tibia

     comprising an articular surface at which the tibia interacts with the femur, the proximal portion

     having a bone-contacting surface configured and dimensioned to conform to the cut-away

     portion of the tibia when the distal portion is coupled to the shaft of the tibia in a desired




     3 Allowed Claim 33 of the patent application that issued as the '728 patent was renumbered as Claim 1 of the
     issued patent.




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     orientation and when the cut-away portion of the tibia has been re-positioned as desired, the

     proximal portion comprising at least three proximal portion screw holes each designed to

     accept a screw, wherein a first proximal portion screw hole is a superior screw hole, a second

     proximal portion screw hole is a cranial screw hole located distally and cranially from the

     superior screw hole, and a third proximal portion screw hole is a caudal screw hole located

     distally and caudally from the superior screw hole, wherein screw hole paths for at least two

     of the three screw holes of the proximal portion are predetermined and angled to direct screws

     inserted therethrough, when the bone plate is positioned on the tibia in a desired position, into

     a central mass of the tibia, wherein the elongated shaft extends along a longitudinal shaft axis

     and the plate defines a base plane parallel to the shaft axis, the screw hole path of the superior

     screw hole being angled no more than 90 degrees relative to the base plane."

            155.    The Accused Products satisfy the requirement in claim 1 that the bone plate is

     "for securing two tibial bone segments as part of a tibial leveling osteotomy procedure for an

     animal." As shown in the claim chart attached hereto as Exhibit N, the Elite TPLO plates are

     "TPLO" plates for use in tibial leveling osteotomy procedures.

            156.    The Accused Products satisfy the requirement in claim 1 that the bone plate

     comprises "a distal portion comprising an elongated shaft having disposed therein a plurality

     of distal portion screw holes designed to accept a screw." As shown in the claim chart attached

     hereto as Exhibit N, the Elite TPLO plates each have a distal portion 12. The shaft 80 of the

     distal portion 12 is elongated relative to its depth. The distal portion of the Elite TPLO plates

     further comprises three distal screw holes (16) that are designed to accept screws.




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             157.    The Accused Products satisfy the requirement in claim 1 that the bone plate

     comprises "a proximal portion configured for attachment to a cut-away and repositioned

     portion of the tibia, the cut-away portion of the tibia comprising an articular surface at which

     the tibia interacts with the femur, the proximal portion having a bone-contacting surface

     configured and dimensioned to conform to the cut-away portion of the tibia when the distal

     portion is coupled to the shaft of the tibia in a desired orientation and when the cut-away

     portion of the tibia has been re-positioned as desired, the proximal portion comprising at least

     three proximal portion screw holes each designed to accept a screw." As shown in the claim

     chart attached hereto as Exhibit N, the Elite TPLO plates each have a proximal portion 14

     comprising three screw holes 30, 31 and 32 that are designed to accept screws. During a tibial

     leveling procedure, an osteotomy is performed which creates two tibial bone segments. The

     proximal portion of the tibia, which includes the articular surface that interacts with the femur

     at the knee or stifle joint, is rotated during the procedure. After this portion of the tibia is cut

     away and rotated, the Elite TPLO plates are configured to provide fixation for the osteotomy

     by attaching the bone-contacting surface of the proximal portion of the Elite TPLO plate (14)

     to the cut-away portion of the tibia comprising an articular surface at which the tibia interacts

     with the femur, and the distal portion of the Elite TPLO plate (12) to the shaft of the tibia.

            158.     The Accused Products satisfy the requirement in claim 1 that "a first proximal

     portion screw hole is a superior screw hole, a second proximal portion screw hole is a cranial

     screw hole located distally and cranially from the superior screw hole, and a third proximal

     portion screw hole is a caudal screw hole located distally and caudally from the superior screw

     hole, wherein screw hole paths for at least two of the three screw holes of the proximal portion




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     are predetermined and angled to direct screws inserted therethrough, when the bone plate is

     positioned on the tibia in a desired position, into a central mass of the tibia, wherein the

     elongated shaft extends along a longitudinal shaft axis and the plate defines a base plane

     parallel to the shaft axis, the screw hole path of the superior screw hole being angled no more

     than 90 degrees relative to the base plane." As shown in the claim chart attached hereto as

     Exhibit N, the proximal portion (14) of each of the Elite TPLO plates has three screw holes —

     a superior screw hole (30), cranial screw hole (31), and a caudal screw hole (32). The screw

     holes in the proximal portion of the Elite TPLO plates direct screws inserted therethrough into

     a central mass of the tibia, such that when the appropriate screws are inserted, the screw hole

     path of the superior screw is angled by no more than 90 degrees relative to a base plane parallel

     to a longitudinal shaft axis.

             159.   As a result of VOI's infringement of the '728 patent, DePuy Synthes has

     suffered and will continue to suffer damages.

             160.   VOI' s infringement of the '728 patent is willful, making this an exceptional

     case and entitling DePuy Synthes to enhanced damages and attorneys' fees. VOI became

     aware of the '728 patent no later than upon its issuance on June 8, 2021. On information and

     belief, VOI has knowingly and willfully infringed the '728 patent by manufacturing, importing,

     using, selling and offering to sell the Accused Products, including the Accused Products

     identified in this complaint.

             161.   Despite its knowledge of its infringement of the '728 patent, VOI has continued

     to manufacture, import, use, sell and offer to sell the Accused Products and instruct its

     customers to use the Accused Products in a manner that infringes.




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            162.    DePuy Synthes markets TPLO plates (the "DePuy Synthes TPLO plates") that

     have a proximal portion comprising at least three screw holes each designed to accept a screw

     wherein a first screw hole is a superior screw hole, a second screw hole is a cranial screw hole

     located distally and cranially from the superior screw hole, and a third screw hole is a caudal

     screw hole located distally and caudally from the superior screw hole, wherein screw hole

     paths direct screws inserted therethrough into a central mass of the tibia, such that when the

     appropriate screws are inserted, the screw hole path of the superior screw is angled by no more

     than 90 degrees relative to a base plane parallel to a longitudinal shaft axis.

            163.    DePuy Synthes marks the DePuy Synthes TPLO plates with the patent number

     of the '728 patent.

            164.    On information and belief, VOI copied the DePuy Synthes TPLO plates and

     has designed the Accused Products to have proximal portion screw holes that result in the same

     screw angles as those in the DePuy Synthes TPLO plates.

            165.    DePuy Synthes has been irreparably harmed by VOI' s infringement of

     the '728 patent and will continue to be harmed unless VOI's infringing conduct is restrained

     and enjoined by order of this Court.

                                                COUNT FIVE
                               Syntec's Direct Infringement of the '728 Patent

            166.     DePuy Synthes incorporates by reference each of the allegations set forth in

     paragraphs 1-165 above.

            167.    On information and belief, Syntec, without authority, has directly infringed and

     continues to directly infringe the '728 patent, under 35 U.S.C. § 271(a), at least by




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     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products.

            168.    On information and belief, Syntec also manufactures, imports, sells or offers

     for sale other products and services that are suitable for use in TPLO and CBLO procedures.

     Examples of Syntec's products constituting convoyed sales are included in the attached Exhibit

     I, as well as substantially similar designs to those designs in Exhibit I.

            169.    A detailed infringement analysis for each of the Accused Products is provided

     in Exhibit N. For illustrative purposes, and as described in greater detail herein, the VOI Elite

     TPLO plates practice each limitation of at least claim 1 of the '728 patent. On information and

     belief, these plates are representative of the other Accused Products, including the NXT TPLO

     plates. On information and belief, the other Accused Products practice each limitation of at

     least claim 1 of the '728 patent for the same reasons as those described herein for the Elite

     TPLO plates.

            170.    On information and belief, the left and right versions of each of VOI's Elite and

     NXT TPLO plates are mirror images of one another. The infringement analysis for the left-

     handed and right-handed plates are identical after accounting for the fact that, being mirror

     images, the placement of the cranial and caudal screw holes are reversed.

            171.    In addition to the infringement analysis provided below, a claim chart alleging

     facts demonstrating infringement using the Elite and NXT TPLO plates as illustrative

     examples is attached as Exhibit N, and is incorporated herein by reference.




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             172.     On information and belief, the different models of Elite and NXT TPLO plates

     do not differ for purposes of infringement except for the size of the plates. The difference in

     size does not affect the infringement analysis below.

             173.     Claim 1 of the '728 patent4 is directed to: "A bone plate for securing two tibial

     bone segments as part of a tibial leveling osteotomy procedure for an animal, the bone plate

     comprising: a distal portion comprising an elongated shaft having disposed therein a plurality

     of distal portion screw holes designed to accept a screw; and a proximal portion configured for

     attachment to a cut-away and repositioned portion of the tibia, the cut-away portion of the tibia

     comprising an articular surface at which the tibia interacts with the femur, the proximal portion

     having a bone-contacting surface configured and dimensioned to conform to the cut-away

     portion of the tibia when the distal portion is coupled to the shaft of the tibia in a desired

     orientation and when the cut-away portion of the tibia has been re-positioned as desired, the

     proximal portion comprising at least three proximal portion screw holes each designed to

     accept a screw, wherein a first proximal portion screw hole is a superior screw hole, a second

     proximal portion screw hole is a cranial screw hole located distally and cranially from the

     superior screw hole, and a third proximal portion screw hole is a caudal screw hole located

     distally and caudally from the superior screw hole, wherein screw hole paths for at least two

     of the three screw holes of the proximal portion are predetermined and angled to direct screws

     inserted therethrough, when the bone plate is positioned on the tibia in a desired position, into

     a central mass of the tibia, wherein the elongated shaft extends along a longitudinal shaft axis




       Allowed Claim 33 of the patent application that issued as the '728 patent was renumbered as Claim 1 of the
     issued patent.




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     and the plate defines a base plane parallel to the shaft axis, the screw hole path of the superior

     screw hole being angled no more than 90 degrees relative to the base plane."

            174.    The Accused Products satisfy the requirement in claim 1 that the bone plate is

     "for securing two tibial bone segments as part of a tibial leveling osteotomy procedure for an

     animal." As shown in the claim chart attached hereto as Exhibit N, the Elite TPLO plates are

     "TPLO" plates for use in tibial leveling osteotomy procedures.

            175.    The Accused Products satisfy the requirement in claim 1 that the bone plate

     comprises "a distal portion comprising an elongated shaft having disposed therein a plurality

     of distal portion screw holes designed to accept a screw." As shown in the claim chart attached

     hereto as Exhibit N, the Elite TPLO plates each have a distal portion 12. The shaft 80 of the

     distal portion 12 is elongated relative to its depth. The distal portion of the Elite TPLO plates

     further comprises three distal screw holes (16) that are designed to accept screws.

            176.    The Accused Products satisfy the requirement in claim 1 that the bone plate

     comprises "a proximal portion configured for attachment to a cut-away and repositioned

     portion of the tibia, the cut-away portion of the tibia comprising an articular surface at which

     the tibia interacts with the femur, the proximal portion having a bone-contacting surface

     configured and dimensioned to conform to the cut-away portion of the tibia when the distal

     portion is coupled to the shaft of the tibia in a desired orientation and when the cut-away

     portion of the tibia has been re-positioned as desired, the proximal portion comprising at least

     three proximal portion screw holes each designed to accept a screw." As shown in the claim

     chart attached hereto as Exhibit N, the Elite TPLO plates each have a proximal portion 14

     comprising three screw holes 30, 31 and 32 that are designed to accept screws. During a tibial




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     leveling procedure, an osteotomy is performed which creates two tibial bone segments. The

     proximal portion of the tibia, which includes the articular surface that interacts with the femur

     at the knee or stifle joint, is rotated during the procedure. After this portion of the tibia is cut

     away and rotated, the Elite TPLO plates are configured to provide fixation for the osteotomy

     by attaching the bone-contacting surface of the proximal portion of the Elite TPLO plate (14)

     to the cut-away portion of the tibia comprising an articular surface at which the tibia interacts

     with the femur, and the distal portion of the Elite TPLO plate (12) to the shaft of the tibia.

             177.    The Accused Products satisfy the requirement in claim 1 that "a first proximal

     portion screw hole is a superior screw hole, a second proximal portion screw hole is a cranial

     screw hole located distally and cranially from the superior screw hole, and a third proximal

     portion screw hole is a caudal screw hole located distally and caudally from the superior screw

     hole, wherein screw hole paths for at least two of the three screw holes of the proximal portion

     are predetermined and angled to direct screws inserted therethrough, when the bone plate is

     positioned on the tibia in a desired position, into a central mass of the tibia, wherein the

     elongated shaft extends along a longitudinal shaft axis and the plate defines a base plane

     parallel to the shaft axis, the screw hole path of the superior screw hole being angled no more

     than 90 degrees relative to the base plane." As shown in the claim chart attached hereto as

     Exhibit N, the proximal portion (14) of each of the Elite TPLO plates has three screw holes —

     a superior screw hole (30), cranial screw hole (31), and a caudal screw hole (32). The screw

     holes in the proximal portion of the Elite TPLO plates direct screws inserted therethrough into

     a central mass of the tibia, such that when the appropriate screws are inserted, the screw hole




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     path of the superior screw is angled by no more than 90 degrees relative to a base plane parallel

     to a longitudinal shaft axis.

             178.   As a result of Syntec's infringement of the '728 patent, DePuy Synthes has

     suffered and will continue to suffer damages.

            179.     Syntec's infringement of the '728 patent is willful, making this an exceptional

     case and entitling DePuy Synthes to enhanced damages and attorneys' fees. On information

     and belief, Syntec became aware of the '728 patent no later than upon its issuance on June 8,

     2021. On information and belief, Syntec has knowingly and willfully infringed the '728 patent

     by manufacturing, importing, using, selling and offering to sell the Accused Products,

     including the Accused Products identified in this complaint.

            180.    Despite its knowledge of its infringement of the '728 patent, Syntec has

     continued to manufacture, import, use, sell and offer to sell the Accused Products and instruct

     its customers to use the Accused Products in a manner that infringes.

             181.   DePuy Synthes markets TPLO plates (the "DePuy Synthes TPLO plates") that

     have a proximal portion comprising at least three screw holes each designed to accept a screw

     wherein a first screw hole is a superior screw hole, a second screw hole is a cranial screw hole

     located distally and cranially from the superior screw hole, and a third screw hole is a caudal

     screw hole located distally and caudally from the superior screw hole, wherein screw hole

     paths direct screws inserted therethrough into a central mass of the tibia, such that when the

     appropriate screws are inserted, the screw hole path of the superior screw is angled by no more

     than 90 degrees relative to a base plane parallel to a longitudinal shaft axis.




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            182.    DePuy Synthes marks the DePuy Synthes TPLO plates with the patent number

     of the '728 patent.

            183.    On information and belief, Syntec copied the DePuy Synthes TPLO plates and

     has designed the Accused Products to have proximal portion screw holes that result in the same

     screw angles as those in the DePuy Synthes TPLO plates.

            184.    DePuy Synthes has been irreparably harmed by Syntec's infringement of

     the '728 patent and will continue to be harmed unless Syntec's infringing conduct is restrained

     and enjoined by order of this Court.

                                                   COUNT SIX
                           Fidelio's Direct and Indirect Infringement of the '728 Patent

            185.     DePuy Synthes incorporates by reference each of the allegations set forth in

     paragraphs 1-184 above.

            186.    On information and belief, Fidelio, without authority, has directly infringed and

     continues to directly infringe the '728 patent, under 35 U.S.C. § 271(a), at least by

     manufacturing, importing, distributing, selling, offering for sale and/or using within the United

     States at least the Accused Products. For example, through Ossium (and/or Movora), Fidelio

     runs educational seminars to educate and train veterinarians in the various procedures that

     involve the Accused Products. Fidelio also provides screws and equipment that are used with

     the plates and methods accused of infringement in this action. On information and belief, the

     underlying purpose of these seminars is to sell and offer for sale the Accused Products and to

     instruct veterinarians to use such products in an infringing manner. Through these educational

     seminars, Fidelio induces veterinarians to directly infringe the '728 patent. For example,

     Matthew Haas, a former VOI sales executive, explained at deposition that the purpose of such




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     educational seminars was to "target [veterinarians] to try to have them gain interest and

     confidence in their ability to do TPLO through a course." Haas Depo. at 19:9-16. In a sworn

     declaration submitted in the matter Veterinary Orthopedic Implants, Inc. v. Matthew Haas, No.

     20-cv-00868-MMH-MCR (M.D. Fla. Aug. 18, 2020), Mr. Haas further explained that though

     such training seminars or "labs" are "ostensibly non-commercial and instead purely

     education, . . . approximately 80% of [his] sales occurred at labs because doctors would learn

     about the new techniques and ask what products [VOI] sells that can support that technique."

     20-cv-00868-MMH-MCR, Doc. 18-2, ¶ 12.

            187.    Fidelio also manufactures, imports, sells or offers for sale other products and

     services that are suitable for use in TPLO and CBLO procedures. Examples of Fidelio's

     products constituting convoyed sales are included in the attached Exhibit I, as well as

     substantially similar designs to those designs in Exhibit I.

            188.    A detailed infringement analysis for each of the Accused Products is provided

     in Exhibit N. For illustrative purposes, and as described in greater detail herein, the VOI Elite

     TPLO plates practice each limitation of at least claim 1 of the '728 patent. On information and

     belief, these plates are representative of the other Accused Products, including the NXT TPLO

     plates. On information and belief, the other Accused Products practice each limitation of at

     least claim 1 of the '728 patent for the same reasons as those described herein for the Elite

     TPLO plates.

            189.    On information and belief, the left and right versions of each of VOI's Elite and

     NXT TPLO plates are mirror images of one another. The infringement analysis for the left-




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     handed and right-handed plates are identical after accounting for the fact that, being mirror

     images, the placement of the cranial and caudal screw holes are reversed.

             190.     In addition to the infringement analysis provided below, a claim chart alleging

     facts demonstrating infringement using the Elite and NXT TPLO plates as illustrative

     examples is attached as Exhibit N, and is incorporated herein by reference.

             191.     On information and belief, the different models of Elite and NXT TPLO plates

     do not differ for purposes of infringement except for the size of the plates. The difference in

     size does not affect the infringement analysis below.

             192.     Claim 1 of the '728 patents is directed to: "A bone plate for securing two tibial

     bone segments as part of a tibial leveling osteotomy procedure for an animal, the bone plate

     comprising: a distal portion comprising an elongated shaft having disposed therein a plurality

     of distal portion screw holes designed to accept a screw; and a proximal portion configured for

     attachment to a cut-away and repositioned portion of the tibia, the cut-away portion of the tibia

     comprising an articular surface at which the tibia interacts with the femur, the proximal portion

     having a bone-contacting surface configured and dimensioned to conform to the cut-away

     portion of the tibia when the distal portion is coupled to the shaft of the tibia in a desired

     orientation and when the cut-away portion of the tibia has been re-positioned as desired, the

     proximal portion comprising at least three proximal portion screw holes each designed to

     accept a screw, wherein a first proximal portion screw hole is a superior screw hole, a second

     proximal portion screw hole is a cranial screw hole located distally and cranially from the




     5 Allowed Claim 33 of the patent application that issued as the '728 patent was renumbered as Claim 1 of the
     issued patent.




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     superior screw hole, and a third proximal portion screw hole is a caudal screw hole located

     distally and caudally from the superior screw hole, wherein screw hole paths for at least two

     of the three screw holes of the proximal portion are predetermined and angled to direct screws

     inserted therethrough, when the bone plate is positioned on the tibia in a desired position, into

     a central mass of the tibia, wherein the elongated shaft extends along a longitudinal shaft axis

     and the plate defines a base plane parallel to the shaft axis, the screw hole path of the superior

     screw hole being angled no more than 90 degrees relative to the base plane."

            193.    The Accused Products satisfy the requirement in claim 1 that the bone plate is

     "for securing two tibial bone segments as part of a tibial leveling osteotomy procedure for an

     animal." As shown in the claim chart attached hereto as Exhibit N, the Elite TPLO plates are

     "TPLO" plates for use in tibial leveling osteotomy procedures.

            194.    The Accused Products satisfy the requirement in claim 1 that the bone plate

     comprises "a distal portion comprising an elongated shaft having disposed therein a plurality

     of distal portion screw holes designed to accept a screw." As shown in the claim chart attached

     hereto as Exhibit N, the Elite TPLO plates each have a distal portion 12. The shaft 80 of the

     distal portion 12 is elongated relative to its depth. The distal portion of the Elite TPLO plates

     further comprises three distal screw holes (16) that are designed to accept screws.

            195.    The Accused Products satisfy the requirement in claim 1 that the bone plate

     comprises "a proximal portion configured for attachment to a cut-away and repositioned

     portion of the tibia, the cut-away portion of the tibia comprising an articular surface at which

     the tibia interacts with the femur, the proximal portion having a bone-contacting surface

     configured and dimensioned to conform to the cut-away portion of the tibia when the distal




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     portion is coupled to the shaft of the tibia in a desired orientation and when the cut-away

     portion of the tibia has been re-positioned as desired, the proximal portion comprising at least

     three proximal portion screw holes each designed to accept a screw." As shown in the claim

     chart attached hereto as Exhibit N, the Elite TPLO plates each have a proximal portion 14

     comprising three screw holes 30, 31 and 32 that are designed to accept screws. During a tibial

     leveling procedure, an osteotomy is performed which creates two tibial bone segments. The

     proximal portion of the tibia, which includes the articular surface that interacts with the femur

     at the knee or stifle joint, is rotated during the procedure. After this portion of the tibia is cut

     away and rotated, the Elite TPLO plates are configured to provide fixation for the osteotomy

     by attaching the bone-contacting surface of the proximal portion of the Elite TPLO plate (14)

     to the cut-away portion of the tibia comprising an articular surface at which the tibia interacts

     with the femur, and the distal portion of the Elite TPLO plate (12) to the shaft of the tibia.

             196.    The Accused Products satisfy the requirement in claim 1 that "a first proximal

     portion screw hole is a superior screw hole, a second proximal portion screw hole is a cranial

     screw hole located distally and cranially from the superior screw hole, and a third proximal

     portion screw hole is a caudal screw hole located distally and caudally from the superior screw

     hole, wherein screw hole paths for at least two of the three screw holes of the proximal portion

     are predetermined and angled to direct screws inserted therethrough, when the bone plate is

     positioned on the tibia in a desired position, into a central mass of the tibia, wherein the

     elongated shaft extends along a longitudinal shaft axis and the plate defines a base plane

     parallel to the shaft axis, the screw hole path of the superior screw hole being angled no more

     than 90 degrees relative to the base plane." As shown in the claim chart attached hereto as




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     Exhibit N, the proximal portion (14) of each of the Elite TPLO plates has three screw holes —

     a superior screw hole (30), cranial screw hole (31), and a caudal screw hole (32). The screw

     holes in the proximal portion of the Elite TPLO plates direct screws inserted therethrough into

     a central mass of the tibia, such that when the appropriate screws are inserted, the screw hole

     path of the superior screw is angled by no more than 90 degrees relative to a base plane parallel

     to a longitudinal shaft axis.

             197.   As a result of Fidelio's infringement of the '728 patent, DePuy Synthes has

     suffered and will continue to suffer damages.

             198.    Fidelio's infringement of the '728 patent is willful, making this an exceptional

     case and entitling DePuy Synthes to enhanced damages and attorneys' fees. On information

     and belief, Fidelio became aware of the '728 patent no later than upon its issuance on June 8,

     2021. On information and belief, Fidelio has knowingly and willfully infringed the '728 patent

     by manufacturing, importing, using, selling and offering to sell the Accused Products,

     including the Accused Products identified in this complaint.

             199.   Despite its knowledge of its infringement of the '728 patent, Fidelio has

     continued to manufacture, import, use, sell and offer to sell the Accused Products and instruct

     its customers to use the Accused Products in a manner that infringes.

            200.    DePuy Synthes markets TPLO plates (the "DePuy Synthes TPLO plates") that

     have a proximal portion comprising at least three screw holes each designed to accept a screw

     wherein a first screw hole is a superior screw hole, a second screw hole is a cranial screw hole

     located distally and cranially from the superior screw hole, and a third screw hole is a caudal

     screw hole located distally and caudally from the superior screw hole, wherein screw hole




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     paths direct screws inserted therethrough into a central mass of the tibia, such that when the

     appropriate screws are inserted, the screw hole path of the superior screw is angled by no more

     than 90 degrees relative to a base plane parallel to a longitudinal shaft axis.

            201.    DePuy Synthes marks the DePuy Synthes TPLO plates with the patent number

     of the '728 patent.

            202.    On information and belief, Fidelio copied the DePuy Synthes TPLO plates and

     has designed the Accused Products to have proximal portion screw holes that result in the same

     screw angles as those in the DePuy Synthes TPLO plates.

            203.    DePuy Synthes has been irreparably harmed by Fidelio's infringement of

     the '728 patent and will continue to be harmed unless Fidelio's infringing conduct is restrained

     and enjoined by order of this Court.

                                        PRAYER FOR RELIEF

            WHEREFORE, DePuy Synthes respectfully requests that this Court:

            1.      Adjudge that VOI, Syntec, and Fidelio have directly infringed, literally or under

     the doctrine of equivalents, at least claim 12 of the '921 patent, and that the manufacture, use,

     sale, offer for sale and/or importation of at least the Accused Products infringe at least claim

     12 of the '921 patent;

            2.      Adjudge that VOI and Fidelio have induced and contributed to direct

     infringement of at least claim 12 of the '921 patent;

            3.      Permanently enjoin VOI, Syntec, and Fidelio, their officers, agents, servants

     and employees, and those in active concert or participation with any of them, from infringing

     the '921 patent;




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            4.      Award DePuy Synthes compensatory damages for VOI's, Syntec's, and

     Fidelio's infringement of the '921 patent, including lost profits;

            5.      Award DePuy Synthes increased damages under 35 U.S.C. § 284 for VOI's,

     Syntec's, and Fidelio's willful and deliberate infringement of the '921 patent;

            6.      Adjudge that VOI, Syntec, and Fidelio have directly infringed, literally or under

     the doctrine of equivalents, at least claim 1 of the '728 patent, and that the manufacture, use,

     sale, offer for sale and/or importation of at least the Accused Products infringes at least claim

     1 of the '728 patent;

            7.      Adjudge that VOI and Fidelio have induced and contributed to direct

     infringement of at least claim 1 of the '728 patent;

            8.      Permanently enjoin VOI, Syntec, and Fidelio, their officers, agents, servants

     and employees, and those in active concert or participation with any of them, from infringing

     the '728 patent;

            9.      Award DePuy Synthes compensatory damages for VOI's, Syntec's, and

     Fidelio's infringement of the '728 patent, including lost profits;

            10.     Award DePuy Synthes increased damages under 35 U.S.C. § 284 for VOI's,

     Syntec's, and Fidelio's willful and deliberate infringement of the '728 patent;

            11.     Declare this to be an exceptional case under 35 U.S.C. § 285;

            12.     Award DePuy Synthes its attorney fees and costs incurred in prosecuting this

     action, together with pre judgment and post judgment interest;

            13.     Hold Fidelio liable for VOI's infringement if justice requires; and




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            14.     Grant DePuy Synthes such other and further relief as this Court deems just and

     proper, including an injunction.

                                          JURY DEMAND

            DePuy Synthes hereby respectfully requests a trial by jury of all issues so triable,

     pursuant to Rule 38 of the Federal Rules of Civil Procedure.

            Dated this       day of June 2021.

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